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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESAVILLE DIVISION


                                                          Action No: 3:17CV00072
  Elizabeth Sines, et al                                  Date: 11/9/2018
  vs.                                                     Judge: Joel C. Hoppe, USMJ
                                                          Court Reporter: Heidi N. Wheeler
  Jason Kessler, et al
                                                          Deputy Clerk: H. Wheeler/FTR



  Plaintiff Attorney(s)                            Defendant Attorney(s)
  Roberta Kaplan                                   James Kolenich
  Gabrielle Tenzer                                 John DiNucci
  Philip Bowman                                    Bryan Jones
                                                   David Campbell



                                     LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                           DEFENDANT:
  1.                                              1.



  PROCEEDINGS:
  TELEPHONIC MOTION HEARING               2:32-3:28=56 MIN

  Parties present through counsel for Telephonic motion hearing

  Motion [354] argued by counsel

  Remarks by Court.

  Order will issue.
